19-01447-jlg        Doc 12       Filed 06/20/20 Entered 06/20/20 21:19:31         Main Document
                                               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

-------------------------------------------------------------X
In re:                                                           Chapter 7

ORLY GENGER,


                                                                 Case No.: 19-13895 (JLG)
                           Debtor.
-------------------------------------------------------------X
Michael Oldner, As Trustee of The Orly
Genger 1993 Trust,
                           Plaintiff,                            Adv. Proc. No. 19-01447-JLG

                 vs.
                                                                 STIPULATION AND ORDER
Orly Genger,                                                     FOR SUBSTITUTION OF
                           Defendant.                            ATTORNEYS
-------------------------------------------------------------X

        It is hereby stipulated and agreed, by and between the undersigned that, pursuant to Local

District Rule 1.4 and Local Bankruptcy Rule 2090-1, the firms of Cullen and Dykman LLP, with

offices located at 100 Quentin Roosevelt Boulevard, Garden City, New York 11530, and Pollock

Cohen LLP, with offices located at 60 Broad St., 24th Floor, New York, New York, 10004, be

substituted as attorneys of record for Michael Oldner, Trustee of The Orly Genger 1993 Trust,

the plaintiff in the above-captioned adversary proceeding in place and instead of Munsch Hardt

Kopf & Harr, P.C., who’s appearance in this adversary proceeding on behalf of plaintiff Michael

Oldner, Trustee of The Orly Genger 1993 Trust is deemed withdrawn, all as of the date approved

by the Court.
19-01447-jlg    Doc 12   Filed 06/20/20 Entered 06/20/20 21:19:31     Main Document
                                       Pg 2 of 2



Date: June 20, 2020

                                          Respectfully submitted,

                                          CULLEN AND DYKMAN, LLP


                                          By: /s/ Elizabeth M. Aboulafia_________
                                          Elizabeth Aboulafia
                                          Counsel to Michael Oldner, Trustee of the Orly
                                          Genger 1993 Trust, Plaintiff
                                          100 Quentin Roosevelt Boulevard
                                          Garden City, NY 11530
                                          (516) 357-3700

                                                And

                                          POLLOCK COHEN LLP


                                          By: /s/ Adam Pollock________________
                                          Adam Pollock
                                          Counsel to Michael Oldner, Trustee of The
                                          Orly Genger 1993 Trust, Plaintiff
                                          60 Broad St., 24th Flr.
                                          New York, NY 10004

                                               And

                                          MUNSCH HARDT KOPF & HARR, P.C.


                                          By: /s/ Jay H. Ong___________________
                                          Jay H. Ong
                                          Former Counsel to Michael Oldner, Trustee of
                                          The Orly Genger 1993 Trust, Plaintiff
                                          Texas Bar No. 24028756
                                          1717 West 6th Street, Suite 250
                                          Austin, Texas 78703
                                          Telephone: (512) 391-6100
                                          Facsimile: (512) 391-6149
